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         In the United States Court of Federal Claims
                                  OFFICE OF SPECIAL MASTERS
                                           No. 15-972V
                                       Filed: April 16, 2018

    * * * * * * * * * * * * *                   *   *
    PAUL MONDELLO,                                  *       UNPUBLISHED
                                                    *
                 Petitioner,                        *
    v.                                              *       Decision on Attorneys’ Fees and Costs;
                                                    *       Respondent Does Not Object.
    SECRETARY OF HEALTH                             *
    AND HUMAN SERVICES,                             *
                                                    *
             Respondent.                            *
    * * * * * * * * * * * * *                   *   *

Verne E. Paradie, Jr., Esq., Paradie, Sherman, et al., Lewiston, ME, for petitioner.
Darryl Wishard, Esq., U.S. Department of Justice, Washington, DC, for respondent.

                       DECISION ON ATTORNEYS’ FEES AND COSTS1

Roth, Special Master:

        On September 3, 2015, Paul Mondello (“Mr. Mondello,” or “petitioner”) filed a petition
for compensation under the National Vaccine Injury Compensation Program.2 Petitioner alleges
that he developed a seizure disorder after receiving a hepatitis A vaccination on November 15,
2013. See Petition (“Pet.”), ECF No. 1. On November 15, 2016, the undersigned issued a Ruling
on the Record finding that petitioner was not entitled to compensation. ECF No. 34. Petitioner
filed a Motion for Review, which was granted. See Motion for Review, ECF No. 40; Opinion, ECF
No. 44. This matter was remanded to the undersigned for further proceedings. Fact hearings were
held on August 28, 2017, and September 7, 2017; the undersigned later issued a decision finding
that petitioner was entitled to compensation. Ruling on Entitlement, ECF No. 74. On March 20,

1
  Because this unpublished decision contains a reasoned explanation for the action in this case, I intend to
post this decision on the United States Court of Federal Claims’ website, in accordance with the E-
Government Act of 2002, Pub. L. No. 107-347, § 205, 116 Stat. 2899, 2913 (codified as amended at 44
U.S.C. § 3501 note (2012)). In accordance with Vaccine Rule 18(b), a party has 14 days to identify and
move to delete medical or other information, that satisfies the criteria in 42 U.S.C. § 300aa-12(d)(4)(B).
Further, consistent with the rule requirement, a motion for redaction must include a proposed redacted
decision. If, upon review, I agree that the identified material fits within the requirements of that provision,
I will delete such material from public access.
2
 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease
of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. § 300aa
(2012).


                                                        1
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2018, the undersigned issued a Decision awarding compensation to petitioner based on
respondent’s proffer. See Decision, ECF No. 78.

        Petitioner initially filed a Motion for Attorneys’ Fees and Costs on December 2, 2016. ECF
No. 37. Following the conclusion of the damages phase of this matter, petitioner filed a Motion to
Strike his original application for fees, which was granted. ECF Nos. 82, 84. On April 4, 2018,
petitioner filed a Motion for Attorneys’ Fees and Costs requesting attorneys’ fees in the amount of
$26, 960.00 and attorneys’ costs in the amount of $5,088.82, for a total of $32,048.82.3 Motion for
Fees, ECF No. 83.

        In accordance with General Order #9, petitioner’s counsel represents that petitioner did not
incur any out-of-pocket expenses. Motion at 2-3.

       On April 6, 2018, respondent filed a response to petitioners’ Motion for Fees. Response,
ECF No. 85. Respondent provided no specific objection to the amount requested or hours worked,
but instead, “respectfully recommend[ed] that the Special Master exercise her discretion and
determine a reasonable award for attorneys’ fees and costs.” Id. at 3. Petitioner did not file a reply.

        The Vaccine Act permits an award of “reasonable attorneys’ fees” and “other costs.”
§ 15(e)(1). Based on the reasonableness of petitioner’s request, the undersigned GRANTS
petitioner’s motion for attorneys’ fees and costs.

        Accordingly, the undersigned awards the total of $32,048.824 in the form of a check
jointly payable to petitioner and petitioner’s counsel, Verne Paradie.

        The Clerk of the Court is directed to enter judgment in accordance with this Decision.5

        IT IS SO ORDERED.

                                                          s/ Mindy Michaels Roth
                                                          Mindy Michaels Roth
                                                          Special Master




3
 I have made no determination as to appropriate hourly rates in this matter; I merely conclude that the total
sums requested seem reasonable and appropriate.
4
 This amount is intended to cover all legal expenses incurred in this matter. This award encompasses all
charges by the attorney against a client, “advanced costs” as well as fees for legal services rendered.
Furthermore, § 15(e)(3) prevents an attorney from charging or collecting fees (including costs) that would
be in addition to the amount awarded herein. See generally Beck v. Sec’y of Health & Human Servs., 924
F.2d 1029 (Fed. Cir. 1991).
5
  Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by each party filing a notice
renouncing the right to seek review.

                                                     2
